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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN

                                               )
STEVE SLAVENS, FRANK SLAVENS )
and KEVIN LEVY, individually and as            )   Case No. 2:20-cv-13047
representatives of a class of participants and )
beneficiaries on behalf of the Meritor         )   Hon. Stephen J. Murphy, III
401(k) Plan,                                   )
                                               )   Mag. Anthony P. Patti
                              Plaintiffs,      )
                                               )
v.                                             )
                                               )
MERITOR INC., the BOARD OF                     )
DIRECTORS OF MERITOR, INC., the                )
MERITOR, INC. EMPLOYEE BENEFITS )
COMMITTEE, MIKE LEI, TIMOTHY                   )
HEFFRON, and JOHN DOES 1-30,                   )
                                               )
                               Defendants. )


     STIPULATION AND JOINT MOTION TO REOPEN CASE FOR
  PURPOSES OF SETTLEMENT APPROVAL PROCEEDINGS AND TO
    PERMIT PLAINTIFFS TO FILE PETITION FOR PRELIMINARY
  APPROVAL OF A CLASS ACTION SETTLEMENT, AND NECESSARY
       RELATED FILINGS, ON OR BEFORE OCTOBER 28, 2021

       Plaintiffs Steve Slavens, Frank Slavens, and Kevin Levy (“Plaintiffs”) and

Defendants Meritor Inc., the Board of Directors of Meritor, Inc., the Meritor Inc.

Employee Benefits Committee, Mike Lei, and Timothy Heffron (“Defendants”)

hereby stipulate and jointly move the Court (1) to reopen the case for settlement

approval purposes, and (2) to permit Plaintiffs to file a Petition for Preliminary
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Approval of a Class Action Settlement, and necessary related filings, on or before

October 28, 2021. In support, the parties state as follows:

      1.     On November 13, 2020, Plaintiffs filed a Class Action Complaint

(“Original Complaint”) in the above-captioned matter, asserting claims for breach

of fiduciary during under the Employee Retirement Income Security Act (ERISA),

29 U.S.C. §§ 1104(a), 1132(a)(2)-(3), in connection with Defendants’ alleged

mismanagement of the Meritor Savings Plan (“Plan”). ECF No. 1.

      2.     Before service of the Original Complaint, Defendants sent Plaintiffs a

letter identifying allegations in the Original Complaint that Defendants believed

were unsupported, attaching 44 documents in support of these points, and asking

that Plaintiffs withdraw the Original Complaint.

      3.     On April 16, 2021, after reviewing Defendants’ letter and documents,

Plaintiffs filed the First Amended Complaint, which added allegations concerning

excessive costs for recordkeeping and other administrative services. ECF No. 10.

      4.     After analyzing the First Amended Complaint, Defendants served on

Plaintiffs a letter identifying six allegations in the First Amended Complaint that

Defendants believed were asserted in violation of Fed. R. Civ. P. 11(b)(2)-(3), and

demanding that Plaintiffs take corrective action.

      5.     Although Plaintiffs denied that any allegations in the First Amended

Complaint violated Fed. R. Civ. P. 11(b)(2)-(3), pursuant to a Stipulation and Joint
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Motion filed by the parties on June 15, 2021 (ECF No. 14), which was approved by

the Court by Case Management Order entered on June 17, 2021 (ECF No. 18),

Plaintiffs filed the Second Amended Class Action Complaint. ECF No. 19.

      6.     By Order entered on August 11, 2021, the Court granted the parties’

Joint Motion for Extension of Time to File Response/Reply to Second Amended

Complaint (ECF No. 22), and set a deadline of September 15, 2021 for Defendants

response.

      7.     On August 25, 2021, Plaintiffs emailed a letter to the Court’s chambers

advising that the parties had reached an agreement in principle that would fully

resolve this litigation on a class basis.

      8.     In response to this letter, on August 26, 2021, the Court entered an

Order dismissing the case without prejudice and requiring the parties to file “closing

documents to dismiss the case with prejudice no later than October 28, 2021.” ECF

No. 23.

      9.     The parties hereby move the Court to reopen the case for purposes of

conducting the Rule 23 settlement approval process. Because the proposed

settlement is a class settlement, Fed. R. Civ. P. 23(e) requires Plaintiffs, inter alia,

to move for preliminary approval from the Court, to issue notice of the settlement to

the proposed settlement class, and for the Court to conduct a final hearing to
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determine whether the proposed settlement is “fair, reasonable, and adequate....”

Fed. R. Civ. P. 23(e)(2).

      10.    The parties request that the Court allow Plaintiffs to file preliminary

approval papers on October 28, 2021.

      WHEREFORE, the parties to the above-captioned action stipulate and agree

that the Court should (1) reopen the case for purposes of conducting the Rule 23

settlement approval process, and (2) permit Plaintiffs to file a Petition for

Preliminary Approval of a Class Action Settlement, and other necessary related

filings, on or before October 28, 2021.


STIPULATED TO AND APPROVED BY:

DATED: August 26, 2021                 By: s/ David H. Fink
                                       David H. Fink (P28235)
                                       Nathan J. Fink (P75185)
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                                       Counsel for Plaintiffs
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DATED: August 26, 2021             By: s/ Christopher J. Boran (with consent)
                                   Christopher J. Boran
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                                   Counsel for Defendants
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                          CERTIFICATE OF SERVICE

      I hereby certify that on August 26, 2021, I electronically filed the foregoing

paper with the Clerk of the court using the ECF system, which will send notification

of such filing to all counsel of record registered for electronic filing.

                                                FINK BRESSACK

                                                By: /s/Nathan J. Fink
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